      Case 2:06-cr-00002-DWM Document 125 Filed 01/26/11 Page 1 of 3
                                                                   FILED
                                                                    JAN 26 2011
                                                                PATRICK E. DUFFY, CLERK

                 IN THE UNITED STATES DISTRICT            CO~~          CLERK, MlSIlOIJIA


                      FOR THE DISTRICT OF MONTANA

                                BUTTE DIVISION


UNITED STATES OF AMERICA,              )     Cause No. CR 06-02-BU-DWM
                                       )               CV 10-69-BU-DWM
            PlaintifflRespondent,      )
                                       )
      vs.                              )     ORDER DISMISSING § 2255 MOTION
                                       )     AND DENYING CERTIFICATE
DESMON RAUL CERON,                     )     OF APPEALABILITY
                                       )
            DefendantlMovant.          )


      On December 27,2010, DefendantIMovant Desmon Ceron filed a motion to

vacate, set aside, or correct the sentence under 28 U.S.C. § 2255. Ceron is a federal

prisoner proceeding pro se.

      On January 7, 2011, Ceron was ordered to show cause why his motion should

not be dismissed with prejudice as time-barred. He responded on January 18, 2011.

      A jury found Ceron guilty of conspiracy to distribute at least 500 grams of a

substance containing methamphetamine. Verdict (doc. 49). On June 25, 2007, he

was sentenced to serve 188 months in prison, to be followed by a five-year term of



ORDER/PAGE 1
      Case 2:06-cr-00002-DWM Document 125 Filed 01/26/11 Page 2 of 3



supervised release.    Minutes (doc. 75); Judgment (doc. 79). He appealed his

sentence. On July 18,2008, the Ninth Circuit Court of Appeals affirmed. United

States v. Ceron, No. 07 -30239 (9th Cir. July 18, 2008)(unpublished memo disp.)(doc.

103). Ceron's conviction became final on October 16,2008. Fed. R. App. P.

4(b)(I)(A)(i); Griffith v. Kentucky, 479 U.S. 314, 321 n.6 (1987). He had one year

to file a § 2255 motion. 28 U.S.c. § 2255(f)(1).     He should have filed on or before

October 16,2009. He did not file his motion until, at the earliest, December 22,

2010, more than fourteen months too late. Mot. § 2255 (doc. 121) at 25; Houston V.

Lack, 487 U.S. 266,276 (1988).

      Ceron might be entitled to equitable tolling of the limitations period ifhe

pursued his rights diligently but an extraordinary circumstance stood in his way and

prevented him from timely filing. Holland V. Florida, _ U.S. _, 130 S. Ct. 2549,

2562 (2010); United States v. Battles, 362 F.3d 1195, 1197 (9th Cir. 2004); Spitsyn

v. Moore, 345 F.3d 796, 802 (9th Cir. 2003). He alleges that "not only did appellate

[counsel] fail to file, but was deficient in failing to advise Petitioner about his legal

options, including a Section 2255 motion." Resp. to Order (doc. 124) at 2. He does

not allege any deception by counsel,~, Spitsyn, 345 F.3d at 801-02, though he is

clearly aware that any such deception would be relevant, Resp. to Order at 3. While

defense counsel should advise clients ofthe option to file a § 2255 motion, failure to

ORDER/PAGE 2
       Case 2:06-cr-00002-DWM Document 125 Filed 01/26/11 Page 3 of 3



do so is not grounds for equitable tolling. Miranda v. Castro, 292F.3d 1063,1067-68

(9th Cir. 2002); Fore v. Hickm!!.!1273 F.3d 1144, 1146 (9th Cir. 2001).

      The law on this issue is clear and there are no open questions on which

reasonable jurists could disagree. Nor do the merits of Ceron's motion appear

compelling. A certificate of appealability is not warranted. Miller-El v. Cockrell,

537 U.S. 322, 327 (2003) (citing Slack v. McDaniel, 529 U.S. 473,484 (2000));

Lambri&ht v. Stewart, 220 F.3d 1022, 1026 (9th Cir. 2000).


      Accordingly, IT IS HEREBY ORDERED as follows:

      1. Ceron's motion to vacate, set aside, or correct the sentence under 28 U.S.C.

§ 2255 (doc. 121) is DENIED;

      2. A certificate of appealability is DENlED. The Clerk of Court shall

immediately process the appeal ifCeron files a Notice of Appeal;

      3. The Clerk of Court shall ensure that all pending motions in this case and in

CV 10-69-BU-DWM are terminated and shall close the civil file by entering

judgment in favor of the United States and against Ceron.

      DATED this   ~ray of January, 2011.


                                      Donald W.M

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ORDER I PAGE 3
